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Case 1:21-cv-02332-JMC Document1 Filed 09/13/21 Page 1 of 23

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
(Northern Division)

RONALD MEALEY
2056 Phillips Mill Road

Forrest Hill, Maryland 21056 Civil No.

 

Plaintiff,
Vv.

BALTIMORE CITY POLICE
DEPARTMENT

601 E. Fayette Street
Baltimore, Maryland 21202

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Serve on:

Lisa Walden, Esquire

Chief of the Office of Legal Affairs
100 N. Holiday Street, Suite 101
Baltimore, Maryland 21202

MAYOR AND CITY COUNCIL
OF BALTIMORE CITY

100 North Holiday Street
Baltimore, Maryland 21202

Serve on:

James L. Shea, Esquire
City Solicitor

100 North Holiday Street
Baltimore, Maryland 21202

* *¥ * ¥ ¥ & &F HF HF HF KF KF HF KF KF SF

KURT ROEPCKE, Sergeant

in his individual and official capacity
Baltimore City Police Department
c/o 601 E. Fayette Street

Baltimore, Maryland 21202

JOHN WEBB, Major

in his individual and official capacity
Baltimore City Police Department
c/o 601 E. Fayette Street

Baltimore, Maryland 21202

+ ¥ *€ *¥ ¥ *¥ © %& % KF KF HF

Defendants *

 
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COMPLAINT AND REQUEST FOR JURY TRIAL —

COMES NOW, Plaintiff, Ronald Mealey, by and through his attorneys, Jo Anna Schmidt
and the law firm of Schmidt, Dailey & O’Neill, LLC, and brings this Complaint for Damages and
Request for Jury Trial against Defendants, the Baltimore City Police Department, Mayor and City
Council of Baltimore City, Sergeant Kurt Roepcke and Major John Webb, for illegal retaliation in|
violation of his First Amendment Rights, 42 U.S.C. § 1983, Article 40 of the Maryland
Declaration of Rights, as well as state law claims of defamation, slander, and false light and, as
grounds therefore, states the following:

I. JURISDICTION, VENUE AND PARTIES

1, Plaintiff, Ronald Mealey (hereinafter “Officer Mealey”), resides at 2056 Phillips
Mill Road, Forrest Hill, Maryland 21050.

2: On July 21, 2021, Officer Mealey provided notice of his claims to the Baltimore
City Solicitor pursuant to Md. Code Ann. Cts. & Jud. Proc. § 5-304. Ex. 1.

a At all times material hereto, the Defendant, Mayor and City Council of Baltimore
City (hereinafter “the City”), is a body corporate as established by Article I, Section 1 of the
Charter of Baltimore City and is the elected legislative body vested with the law-making power of
Baltimore City under Md. Const. Art. XI. The City, as a chartered county established under Md,
Ann. Code Art. 25A, is a person or entity sui Juris organized under the laws of Maryland over
whom this Court may exercise personal jurisdiction.

4. At all times material hereto, the Defendant, Baltimore City Police Department
(hereinafter “BPD”), was and is an agency of the State of Maryland, but otherwise a local
government under Md. Code. Ann., Cts. & Jud. Proc. § 5-301(ad)(21) and is subject to suit undey

42 U.S.C. § 1983.

 
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5. Defendant, Sergeant Kurt Roepcke (hereinafter “Sgt. Roepcke”), is a Maryland
resident and is currently employed by the BPD. Sgt. Roepcke has been employed by the BPD}
since July 1995. At all times material hereto, he was a Sergeant within the Special Operations
Section and since July 5, 2020, he has been the Administrative Sergeant for the BPD Bomb Squad,
At all times material hereto, Sgt. Roepcke was acting in his capacity as an agent, servant, and
employee of the BPD and was acting under the direction and control of the BPD and pursuant to
either official policy or the custom, practice, and usage of the BPD. Sgt. Roepcke is being sued in}
his individual and official capacities.

6. Defendant, Major John Webb (hereinafter “Major Webb”), is a Maryland resident
and is currently employed by the BPD. Defendant Webb has been employed by the BPD since
July 1995. At all times material hereto, he was the commanding officer of the Special Operations
Section and acting in his capacity as an agent, servant, and employee of the BPD. Further, at all
times material hereto, Defendant Webb was acting under the direction and control of the BPD and
pursuant to either official policy or the custom, practice, and usage of the BPD. Defendant Webb
is being sued in his individual and official capacities.

Zs At all times material hereto, the BPD was acting individually and by and through
its actual or apparent agents, servants, and employees, including, but not limited to, Major Webb
and Sgt. Roepcke, who were acting within the normal scope of their employment.

8. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1332.

9. Venue is proper pursuant to 28 U.S.C. § 1391.

II. FACTS AND ALLEGATIONS COMMON TO ALL COUNTS
10. At all times material hereto, Officer Mealey was a police officer employed by the

BPD.

 
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11. Officer Mealey was hired by the BPD on June 3, 2002, and, since October 2019, he
has been the BPD Bomb Squad Commander (“BSC”).

12. In February 2019, Officer Mealey, as a matter of public concern, met with Deputy
Inspector General Gerald D’ Angelo as part of the Baltimore City Office of Inspector General’s
(“OIG”) investigation into fraud, waste, and abuse by Sgt. Roepcke and the BDP’s Marine Unit
and Underwater Recovery/Dive Team during the removal of a sunken vessel in the inner harbor
known as the Danger Zone (OIG Case No. 19-0027-IT). Between February 2019 and July 2019,
when the OIG issued their report, Officer Mealey provided substantive information and
documentation to the OIG for OIG Case No. 19-0027-I.

13. On July 10, 2019, the OIG issued their Report in OIG Case No. 19-0027-I, finding
inter alia that:

a. Poor communication within the BPD’s Special Operations Division created
conclusion with no clear direction to ensure that the salvage operation was done
effectively and efficiently.

b. Management within the BPD was aware of the Maryland Department of
Natural Resource abandoned boat program but never utilized it.

c. Aaa result of the Marine Unit’s salvage operation, the boat was completely
destroyed.

d. BPD failed to issue a citation to the boat owner and the City was held
responsible for the cost of the removal, at combined loss to the City of
$30,142.25.

e. The Marine Unit’s salvage of the boat was ill conceived at its inception and the
Marine Unit lacked the necessary equipment and skills to efficiently conduct

the operation.

 
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f. The salvage operation was done in an unsafe manner, the tactics employed or
considered during the operation created the potential for physical harm to
officers, civilian personnel, and damage to City property.

g. The tactics included the use of two separate police boats to tow/dislodge the
boat from pilings, the use of a BPD utility truck to dislodge the boat from shore,
and the consideration by Sgt. Roepcke to use explosives to aid in the salvage
operation.

h. BPD personnel, including Sgt. Roepcke, provided contradictory statements to
various entities, including senior BPD management, BPD Internal Affairs (IA),
and/or OIG investigators, such that the OIG could not determine who provided
the authority for the Marine Unit to remove the boat.

14. Officer Mealey and others within the Bomb Squad told OIG investigators that Sgt,
Roepcke asked to use detonation cord in the Danger Zone salvage operation, despite the fact that
he was not qualified to use explosives.

15. Following the OIG’s July 10, 2019 report, BPD Commissioner Harrison referred
the matter to the Public Integrity Bureau (“PIB”) for appropriate disciplinary action. Upon
information and belief, no disciplinary action was taken against any of the personnel identified in
the OIG’s report as the PIB had already determined to clear Sgt. Roepcke of wrongdoing despite
evidence to the contrary.

16. On July 22, 2019, following the issuance of the OIG report, Sgt. Roepcke and/or
others on his behalf, filed a complaint against Officer Mealey and the Bomb Squad members in
retaliation for providing information to OIG investigators (IA Case No. 2019-1311). The

complaint alleged

 
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Good Evening,
My Husband Said That One of His Friends Told Him How The Bomb
Squad Shows Up Late, Go Home Early and No One Checks Up on
Them. They Use Their Training Days as Half Days or to Run Errands.
If the Bpd is So Short Why is This Unit a Full Time Unit when It Used
to Be a Part Time Unit.

The charges were determined to be “Unfounded” on June 15, 2020.

17: On August 1, 2019, following the issuance of the OIG report, Sgt. Roepcke filed a
complaint against Officer Mealey and the Bomb Squad members in retaliation for providing
information to OIG investigators (IA Case No. 2019-1823). The complaint alleged “That Officers
bf the Bomb Squad Are Not Working Their Full Shifts.” The charges were determined to be
‘Unfounded” on June 24, 2020.

18. In or about June 2020, the Baltimore City Council voted to defund the BPD Marine
Unit, which left Sgt. Roepcke without an assignment.

19. On July 5, 2020, Sgt. Roepcke was made the Administrative Sergeant for the Bomb
Squad.

20. Sgt. Roepcke is not a certified Bomb Technician and has never attended the FBI’s
Hazardous Devices School (“HDS”). ' Since 2017, Sgt. Roepcke has desired to attend the HDS.
However, the BSC at the time, Sgt. Todd Ring, refused Sgt. Roepcke’s request. Thereafter, Sgt.
Roepcke asked his wife, an FBI Special Agent, for help to gain admittance to the school, but that
effort was also unsuccessful. Sgt. Roepcke then had former BPD Commissioner Kevin Davis sign
his HDS application, but the application was rejected because it was not signed by Sgt. Ring.

21. Once Sgt. Roepcke was put in the position of overseeing the Bomb Squad, he again!

attempted to apply to attend the HDS. In order to do so, Sgt. Roepcke needed to be “nominated”

 

 
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by someone within the BPD and his application had to be signed off by Officer Mealey, as the
BSC. Sgt. Roepcke had Captain Joseph Jones endorse his application and Major Webb ordered
Officer Mealey to sign the application as the BSC.

22. According to the National Guidelines for Bomb Squads established by the National]
Bomb Squad Commanders Advisory Board, Officer Mealey is required to follow criteria set forth
in Section 3 of the National Guidelines. Those criteria establish that certain types of people, such as
those who do not exercise good judgment and decision making, should not be selected as al
tandidate for Bomb School. Given Officer Mealey’s history with Sgt. Roepcke and the OIG’s
Hetermination that called into question Sgt. Roepcke’s decision-making abilities and veracity,
Officer Mealey believed that Sgt. Roepcke was not a suitable candidate for Bomb School.
However, Officer Mealey was ordered to sign Sgt. Roepcke’s HDS application. Major Webb
threatened Officer Mealey with “picking a district” if he did not sign the application, which was a
Hirect threat to transfer him out of the Bomb Squad and remove him as the BSC. Accordingly, and
under duress, Officer Mealey signed Sgt. Roepcke’s HDS application.

23% Thereafter, Officer Mealey, as a matter of public concern, contacted the local FB]
boordinator to find out how he should proceed, given his reservations about Sgt. Roepcke’s lack of
suitability for Bomb School. He was advised to contact Sgt. John Adamek? at the National Bomb
Squad Commanders Advisory Board, which he did. Sgt. Adamek told Officer Mealey to put his
thoughts together in writing and he would forward it to the appropriate personnel. In addition, Sgt.
Adamek explained that he was already familiar with Sgt. Roepcke since he had received a number

bf inquiries regarding Sgt. Roepcke’s application.

 

1 The FBI’s Hazardous Devices School trains all of the United States public safety bomb technicians at the federal,
state, and local level.
2 Set. Adamek is employed by the City of St. Paul, Minneapolis.

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Officer Mealey, as a matter of public concern, sent a letter to Sgt. Adamek,

identifying his concerns regarding the eligibility of Sgt. Roepcke to become a Bomb Technician:

April 2017, Sgt. Roepcke attempted to go around the chain of command
and applied for HDS. He used a favor and got Commissioner Davis to
sign his application. At that time, (prior to me becoming BSC), he tells
me personally that his wife, FBI Special Agent Susan Roepcke, has
spoken to her boss SAIC Lou Luciano and that he will make sure he
gets into an HDS class right away and that he will use a spot that is
normally saved for two military EOD Techs. He wanted the Bomb
Tech certification to be able to join the local UHDT? team headed up by
Maryland State Fire Marshall Bill Potts. He filled out his application
and had the Commissioner of the Department sign the application. He
sent it without going through or asking the Bomb Squad Commander
Sgt. Todd Ring. I have attached a copy of an administrative report
written by Sgt. Ring regarding the situation. Sgt. Kurt Roepcke was
aware that he was going around the proper process because I attempted
to advise him during the situation.

OIG report case #19-0027-I dated July 10, 2019.

This report encompasses several issues that would make Sgt. Roepcke
ineligible to become a Bomb Technician. This report should be
requested by anyone who conducts a background investigation
pertaining to Sgt. Roepcke becoming a Tech. The original report was
investigated and written by Inspector Jerry D’Angelo. The report has a
6-page synopsis that was released to the general public. (See attached).
The actual report was 20 pages and was submitted to Inspector General
Cummings. That report was redacted to 9 or 11 pages by someone other
than Inspector D’Angelo. Mr. D’Angelo is no longer with the Office of
the OIG for Baltimore City. Please contact him directly and I am
certain he can shed light on the totality of the investigation. Topics in
the report include asking the bomb squad for “det cord” to cut pilings
under a sunken vessel to free it from its position. This happened twice
during the salvage operation, and improperly using the procurement
system to obtain a hydraulic powered underwater chainsaw. The report
covers several other fraudulent issues as well.

July 2019 Letter of Intent for lawsuit filed by Bomb Tech Diver T.
Ryan. Sgt. Roepcke created a hostile work environment for Tech Ryan
by trying to sabotage the UHDT program. Please see letters by Tech
Ryan to John Adamek.

July 2020.

 

 

3 Underwater Hazardous Devices Team.

 
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25.

In July 2020, Sgt. Roepcke is placed into the Bomb Squad as the
Sergeant. I am ordered to send him to HDS. The BPD had already
begun a process to select a Bomb Tech. and we had several candidates
to be suit tested, aptitude tested and interviewed. Due to Covid and
protesting, we did not complete the process. We also had another
opening for an administrative Sergeant in which 10 or so Sergeants
applied for. We also had a senior Sergeant in the Tactical section who
had asked to be laterally moved from his position as the K9 training Sgt.
He was denied even though he has experience working with the Bomb
Squad and has experience with explosives. The previous three
Sergeants within the bomb squad were all placed there with a lateral
move. I was ordered by our Command Staff to send Sgt. Roepcke to
HDS without adhering to any of the National Guidelines, STB 2013-1
Guidelines for selecting bomb squad personnel or the Bomb Squad
Commanders Handbook. Please see attached email chain.

Synopsis

In addition to the above incidents, as the Bomb Squad Commander I
would not choose Sgt. Roepcke as a Bomb tech candidate. His
questionable choices and acts, as well as his demeanor and disposition
would be some of the reasons I would not choose him over other
candidates.

Officer Mealey’s letter also provided the identity and telephone numbers of

witnesses in support of his statements.

26.

terminating his HDS application in light of the National Guidelines for Bomb Technicians (2020)

On or about September 2, 2020, Sgt. Roepcke received a letter from the FB]

under Guideline Section 4.4.4 The FBI stated,

 

4 Section 4.4 Criminal and Behavioral Issues:

4.4.1

Information that is developed through background criminal history checks or other means will be
further evaluated by the FBI to determine applicant’s suitability for acceptance to the HDS. Listed

below are specific criteria that will automatically constitute grounds for rejection:

e Credible evidence that the applicant has engaged in inappropriate, violent, unsafe, or
threatening behavior that may impact his or her fitness to be entrusted with explosive,

hazardous materials, and/or sensitive information on explosive devices.

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DT
Major Webb.

28.

regarding Officer Mealey. In the complaint, Sgt. Roepcke inter alia defamed Officer Mealey,

stating that Officer Mealey did not follow departmental policies or chain of command and

An examination of the Office of the Inspector General, City of
Baltimore (OIG Case # 19-0027—i) report — as well as Police
Commissioner Harrison’s subsequent referral for disciplinary action —
provide credible evidence that your department has concluded your
actions implicate serious questionable judgment and that additional
oversight of the Marine Unit is now required.

In addition, and in contradiction of the applicant’s representation, both
the former Baltimore City Bomb Squad Commander and the current
Baltimore City Bomb Squad Commander (i.e., Officer Mealey), have
recently notified NBSCAB that they decline to endorse your application
to HDS. The lack of such endorsement, alone, would serve to terminate
your application. However, HDS has also received notice that the
Maryland State Police, Office of the Fire Marshall Bomb Squad,
Underwater Hazardous Devices Team, Team Leader has declined to
endorse your application.

Consistent, calculated, and proper judgment in a high stress
environment, in addition to an unwavering adherence to law
enforcement sensitive techniques, tactics, and procedures, as well as
respect for chain-of-command and safety protocols, is essential in the
field of explosives-related critical incident responses. Therefore, based
on all the information available for review, and in consultation with
both the FBI’s Office of General Counsel and NBSCAB, I find that
termination of your application is appropriate.

On September 14, 2020, Officer Mealey provided a copy of the FBI’s letter to

On October 5, 2020, Sgt. Roepcke sent a Form 95 complaint to Major Webb

 

4.4.3

The FBI reserves the right of final refusal of any applicant’s suitability to attend the HDS based on|
the totality of circumstances provided.

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neglected departmental policies and procedures concerning Officer Thomas Ryan’s> training. Sgt.

Roepcke stated that his report was,

being relayed to my command via official channels, for an in immediate
consideration of changing the Bomb Squad Commander and to
appointment an officer that will represent the Baltimore Police
Department in a more suitable and professional manner. I am also
requesting that an investigation into any possible violations of
departmental policies, to include a possible false report / statements
made by Officer Mealey in his letter to the FBI. I believe Officer
Mealey’s actions were not made in the best interest of the Baltimore
Police Department; rather were made based on his own personal
interest. His actions are disgraceful and work against the Baltimore
Police Department’s ability to work with outside agencies and show his
lack of ability to follow his chain of command and department policies
and procedures.

29. Sgt. Roepcke’s October 5, 2020 complaint against Officer Mealey was in direct
retaliation for Officer Mealey exercising his First Amendment rights and raising a matter of public
concerning regarding Sgt. Roepcke’s suitability to be a candidate for the HDS.

30. On October 7, 2020, Officer Mealey wrote a 95 report to Major Webb, advising}
that Sgt. Roepcke was targeting and harassing him in retaliation for speaking out on a matter of
public concern; i.e., his refusal to endorse him for HDS.

31. On October 28, 2020, Sgt. Roepcke submitted an appeal to the HDS’ suitability,
determination and submitted documents.

32. On October 30, 2020, the FBI issued their final determination regarding Sgt.
Roepcke’s HDS suitability. The FBI wrote,

You requested and received, redacted copies of the documents
submitted to the HDS with regard to your 2020 application. However,
and as was apparent from the initial suitability determination letter, the

HDS did not rely upon the full extent of those documents. Put simply,
the HDS does not consider alleged motive, bias, ill-will, or personnel

 

5 Officer Ryan is an FBI Maritime Bomb Tech Diver and is the only BPD officer who is part of the FBI’s Maryland

Delaware National Capital Region (NCR) Underwater Hazardous Devices (UHD) Team.
11

 
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conflicts to be ‘credible evidence.’ The HDS’ decision was based solely
on whether: 1) your HDS application was properly endorsed; and 2) the
findings of the Office of the Inspector General, City of Baltimore (OIG
Case # 19-0027-I) report (hereinafter ‘City OIG Report’).

On October 28, 2020, you submitted an appeal to the HDS’ suitability
determination and concomitantly provided documents via electronic
mail; those documents were forwarded to NBSCAB. In reviewing your
submission, the HDS has again set aside any documents involving
personal approvals or disapprovals. After setting those documents
aside, it remains undisputed that your HDS application is not properly
endorsed by the current Bomb Squad Commander (BSC). While Mr.
Mealey may be your subordinate, he remains a qualified BSC and, as
such, is an individual the HDS recognizes as having the authority to
endorse your application.

ok OB oR 8

In other words, a non-HDS certified bomb technician may not nominate
or endorse an applicant for HDS admission irrespective of internal
department chains of command. Mr. Mealey withdrew his endorsement
of your 2020 application and the appellate documents do not indicate a
reinstatement of that endorsement. As stated in the September 2, 2020
letter, and reiterated herein, “[t]he lack of such endorsement, alone,
would serve to terminate your application.”

Turning to the City’s OIG report, the HDS’ September 2, 2020 letter
stated that “there was credible evidence that your document has
concluded your actions implicate questionable judgment and that
additional oversight of the Marine Unit is now required.” It remains
undisputed that the City of Baltimore Office report found this salvage
operation involved questionable judgment, that contradictory statements
were provided to the City’s OIG, and that additional oversight of the
Marine Unit was instituted by your department.

oe Ko

I have again consulted with the FBI’s Office of General Counsel and
NBSCAB, and I again find that termination of your application is
appropriate. This decision is based solely on the full text of the
documents referenced herein. Acknowledging that attendance at HDS
is not required under any law, your HDS suitability determination is
final, this matter is deemed closed, and the denial to attend HDS is
permanent.

33. On November 17, 2020, Sgt. Roepcke sent another 95 complaint to Major Webb

concerning Officer Mealey, asking that he be removed as the BSC. This complaint was in

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retaliation for Officer Mealey exercising his First Amendment rights and making statements of
public concern about Sgt. Roepcke’s unsuitability for HDS.

34. | On November 25, 2020, Officer Mealey advised Major Webb of the HDS appeal
decision for Sgt. Roepcke.

35. In December 2020, Officer Mealey met with Detective Collins of the PIB and
expressed his concern that Sgt. Roepcke was likely to institute departmental charges against him]
in retaliation over his statements to Sgt. Adamek and the denial of Sgt. Roepcke’s HDS
application. Officer Mealey provided Det. Collins with the names and contact information for
witnesses that could corroborate the matters of public concern relayed to Sgt. Adamek.

36. On January 5, 2021, Officer Mealey was notified that he was the subject of an
Internal Affairs charge (PIB No. 2020-0974) and the nature of the investigation involves, amongst
other things, the following:

This investigation will encompass your actions and _ the
circumstances surrounding Sergeant Kurt Roepcke’s application to
Hazardous Device School (HDS) from July of 2020 until present. It
was alleged that you undermined Sergeant Roepcke’s authority by
not approving his application to Hazardous Device School.

37. | On February 17, 2021, Sgt. Roepcke filed departmental charges against Officer
Mealey (PIB No. 2021-0227). Sgt. Roepcke alleged,

On Tuesday, February 8'", 2021, Officer Ron Mealey sent an email
requesting to switch his assigned shifts (0700 x 1500), with Officer
Michael Lavery’s 1500 x 2300 for Monday, February 15", 2021 in
the Tactical Section’s Bomb Squad. Upon learning of this request, I
responded to the email on February 9" to both members and Lt.
Klein, a 95 requesting to switch their assigned shifts. I never
received a form 95 / Administrative Report in reference to either
Officer requesting to switch shifts with one another, however, it has
come to my attention that they did in fact switch shifts that day.

Furthermore, on February 4", 2021, during Bomb Squad training
both I and the Lieutenant advised the squad that after checking with

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Sergeant Mac Donald of the FOP, that if two officers wanted to
switch shifts they would have to write a 95 and sign it and have it
approved by their immediate supervisor. I learned on Wednesday,
February 17", 2021 that Officers Lavery and Mealey again switched
their assigned work shifts (0700 x 1500 / 1500 x 2300) in the
Tactical Section’s Bomb Squad without notifying me at all (verbally
or in an Administrative report as previously requested).

38. | Onor about February 22, 2021, Officer Mealey was notified by Internal Affairs off
PIB No. 2021-0227. The Notification stated:

It is alleged on February 15" and 17" 2021, Officer Ronald Mealey
switched his assigned shifts with Officer Michael Lavery without
proper notifications to his superior after being instructed to do so.

39. On July 21, 2021, Officer Mealey was notified that the charges in PIB No. 20214

0227 were sustained, and as a result, he was being suspended without pay for 16 days. Officer

Mealey has challenged the findings and the disciplinary action by requesting a Trial Board.

Officer Mealey has no prior disciplinary action and neither he nor Officer Lavery left the shift

unmanned.

40. To date, no decision has been issued related Sgt. Roepcke’s charges against Officer

Mealey in PIB No. 2020-0974.

41. On April 1, 2021, Officer Mealey was charged by Sgt. Roepcke for an incident that
occurred on/about March 12, 2021 (IA No. 2021-0431), stating,

On March 9", 2021 I sent an email to Officer Mealey telling him that

I need a training schedule for the month of March 2021. He was

previously told that both me and Lt. Klein need the monthly training

schedule like SWAT and other units within SOS. I had previously

ordered him to submit all training operations 48 hours prior which

Officer Mealey failed to do. On March 16" at Bomb training (X-ray

systems updates) I and Lt. Klein also reminded Officer Mealey that

he needs to give me the training schedule. Lt. Klein said that he saw

it but that Officer Mealey did not give it to him. Officer Mealey

stated that he would get it to me. This was due to me Tuesday,
March 11, 2021. I reminded him again on March 16, 2021.

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Today, April 1%, 2021 I still have not received the training schedule,
nor have I received a new training schedule for April since March
has passed. This is a failure to follow direct orders. This order is to
ensure a safe training environment and all necessary training is
completed and to the standard. This failure has continued to erode
the confidence in his ability to manage operations as Bomb Squat
(sic) Commander.
This charge was determined to be “Unfounded” on June 11, 2021.

42. All departmental charges and/or 95 complaint reports by Sgt. Roepcke and/or on
his behalf against Officer Mealey have been in retaliation for Officer Mealey engaging in his First
Amendment rights related to (a) his participation in the OIG investigation and/or (b) his objections
to Sgt. Roepcke’s HDS application.

43. At the time that Sgt. Roepcke was engaging in his wrongful and harassing acts
against Officer Mealey, he was aware that Officer Mealey had provided information to Sgt.
Adamek. Sgt. Roepcke was also aware that Officer Mealey had worked with and provided
information to the OIG regarding their investigation into his actions during the Danger Zone
operation and other matters of fraud, waste, and abuse. Sgt. Roepcke’s acts are retaliatory and in
direct violation of Officer Mealey’s First Amendment rights, as well as the BPD’s Whistleblower
Protection Policy No. 1792.

44. Likewise, the City, the BPD, by and through its Command Staff, including but not
limited to Major Webb, have violated Officer Mealey’s First Amendment Protections and continue
to allow Sgt. Roepcke to take improper retaliatory actions. Officer Mealey disclosed to Major
Webb that he was the source of information or “deep throat” for the OIG’s investigation.

45. At all times relevant, the City and the BPD have an anti-retaliation/whistleblowen

policy (BPD Policy 1729) that provides an affirmative duty to report misconduct, intervene to

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prevent or stop misconduct, and to strictly prohibit retaliation against or interference with a BPD
member for any reason, to those who report or seek to report violations of law or BPD policy.

46. Despite having an anti-retaliation/whistleblower policy, the City and BPD have an
official policy or custom of unfettered retaliation against whistleblowers and/or officers that
exercise their First Amendment Rights. See e.g., Jeffry E. Taylor v. Baltimore Police Dep’t., Civil
No. 1:18-Cv-03999-SAG (D. Md.).

47. The City and BPD’s failure to properly implement, train and/or supervise its
employees as to BPD Policy 1729 has inflicted harm on Officer Mealey.

48. Sgt. Roepcke has defamed, slandered and/or portrayed Officer Mealey in false light
and exposed him to public scorn, hatred, contempt and/or ridicule.

49. Sgt. Roepcke and Major Webb’s conduct in this matter has been intentional,
reckless, extreme and/or outrageous.

50. Defendants’ improper acts have caused Officer Mealey stress and emotional
distress on and off duty, as well as economic damages.

COUNT I
FIRST AMENDMENT RETALIATION — FREEDOM OF SPEECH
42 U.S.C. § 1983
(All Defendants)

Officer Mealey incorporates by reference and re-alleges the allegations contained in the
preceding paragraphs, as if fully set forth below.

51. Officer Mealey had knowledge of the existence of facts relating to the fraud,
misuse, and abuse of BPD manpower, resources, and equipment and improper acts allegedly
committed by Sgt. Roepcke and the Marine Unit.

52. Although it was not part of or pursuant to Officer Mealey’s official duties, as a

concerned citizen, he provided statements, information, and documentation to assist the OIG’s

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investigation into the fraud, misuse and abuse of BPD manpower, resources, and equipment and
improper acts committed by Sgt. Roepcke and the Marine Unit in OIG Case #19-0027-I.

53. Although it was not part of or pursuant to Officer Mealey’s official duties, as a
concerned citizen, Officer Mealey has been a material witness in the case of Jeffry E. Taylor v.
Baltimore City Police Dep’t., et al., Civil No. 1:18-Cv-03999-SAG (D. Md.).

54. Although it was not part of or pursuant to Officer Mealey’s official duties, as al
concerned citizen, Officer Mealey provided information and his opinion as to Sgt. Roepcke’s
suitability as an HDS candidate.

55. Officer Mealey’s speech and his actions in (a) participating in the OIG’s
investigation; (b) being a material witness against Sgt. Roepcke in the Taylor matter; and (c
communicating with Sgt. Ademek as to Sgt. Roepcke’s unsuitability for HDS are all protected
expressions regarding matters of public concern.

56. Asa result of Officer Mealey engaging in his First Amendment rights, he was
unjustifiably subjected to retaliation, harassment, threats, and intolerable and hostile work
conditions, including but not necessarily limited to,

(a) being charged departmentally by Sgt. Roepcke in PIB/IA Case Nos. 2019-1311,
2019-1823, 2020-0974, 2021-0227, and 2021-0431;

(b) Being suspended from work, without pay, for 16 days as a result of Sgt.
Roepcke’s retaliatory charging practice;

(c) Sgt. Roepcke’s numerous 95 complaints to Major Webb and/or others regarding
Officer Mealey, including the request to immediately replace him as the BSC;

(d) being threatened with removal from the Bomb Squad and as the BSC by Major

Webb if he failed to endorse Sgt. Roepcke’s HDS application;

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57. The harassment and retaliation and other harms inflicted upon Officer Mealey for
engaging in his First Amendment rights results from an official policy or custom of the City and
the BPD. The City and BPD inadequately implements, trains and/or supervises BPD commanders
or other managing personnel, including but not limited to Sgt. Roepcke and/or Major Webb, in
adhering to and/or enforcing BPD Policy No. 1729.

58. | Asaresult of the harassment and retaliation and other harms inflicted upon Officer
Mealey by the Defendants, he has experienced economic and non-economic damages, including
but not limited to, loss of pay, pain, suffering, humiliation, reputational damages, stress,
depression, and anxiety.

59. Officer Mealey’s asserts that his interest in First Amendment expression outweighs
whatever interest the Defendants had regarding maintaining control over the workplace.

60. Officer Mealey asserts that he was unjustifiably charged by Sgt. Roepcke and/or
other supervisory members of the BPD, and investigated by PIB/IA in retaliation for exercising his
First Amendment Rights.

61. Officer Mealey asserts that a causal relationship exists between his protected
expressions on matters of public concern and the adverse employment actions.

62. These actions complained of herein violate Officer Mealey’s right to free speech!
under the First Amendment of the U.S. Constitution.

WHEREFORE, Officer Mealey prays for Judgment:

(a) Issuing an award to compensate for all other non-economic damages incurred
by Officer Mealey, including but not limited to, the humiliation, stress, mental
anguish, embarrassment, and loss of enjoyment of life suffered in an amount no

less than $800,000.00;

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(b) Alternatively, if compensatory damages are not awarded, issuing an award of
nominal damages;

(c) Awarding Officer Mealey’s costs and reasonable attorney’s fees in this action;

(d) Granting punitive damages against the individual Defendants and the BPD in
the amount of $1,000,000.00; and

(e) Granting such and other further relief as this Court may deem just and proper.

COUNT II
FREEDOM OF SPEECH RETALIATION
Maryland Declaration of Rights, Article 40
(All Defendants)
Officer Mealey incorporates by reference and re-alleges the allegations contained in the
preceding paragraphs, as if fully set forth below.
63. Officer Mealey states that the actions previously complained of herein also violate
his right of freedom of speech and expression, as protected by the Maryland Declaration of Rights,
Article 40.
WHEREFORE, Officer Mealey prays for Judgment:

(a) Issuing an award to compensate for all other non-economic damages incurred
by Officer Mealey, including but not limited to, the humiliation, stress, mental
anguish, embarrassment, and loss of enjoyment of life suffered in an amount no
less than $800,000.00;

(b) Alternatively, if compensatory damages are not awarded, issuing an award of
nominal damages;

(c) Awarding Officer Mealey his costs and reasonable attorney’s fees in this action;

(d) Granting punitive damages in the amount of $1,000,000.00; and

(e) Granting such and other further relief as this Court may deem just and proper.

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COUNT Ill

WRONGFUL EMPLOYMENT PRACTICES
(All Defendants)

Officer Mealey incorporates by reference and re-alleges the allegations contained in the
preceding paragraphs, as if fully set forth below.
64. The Maryland Legislature has created a cognizable statutory interest in the ability,
to report crimes without fear of retaliation in terms of personal or property damage. Likewise, the
BPD strictly prohibits purposeful retaliation against or interference with a member who reports o7
seeks to report violations of law and/or BPD policy, procedures, or rules.
65. Officer Mealey states that the actions previously complained of and, in more
particularly, those materially and retaliatory adverse employment actions, including but not
limited to, the improper and false charges instituted by Sgt. Roepcke and/or others on his behalf]
constitute wrongful employment practices in violation of Maryland’s and his employer’s clear
mandate to protect whistleblowers.
66. Officer Mealey asserts that a causal relationship exists between his protected}

speech and the adverse personnel actions.
WHEREFORE, Officer Mealey prays for Judgment:
(a) Issuing an award to compensate for all other non-economic damages incurred
by Officer Mealey, including but not limited to, the humiliation, stress, mental
anguish, embarrassment, and loss of enjoyment of life suffered in an amount no
less than $800,000.00;
(b) Alternatively, if compensatory damages are not awarded, issuing an award of
nominal damages;

(c) Awarding Officer Mealey his costs and reasonable attorney’s fees in this action;

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(d) Granting punitive damages in the amount of $1,000,000.00; and
(e) Granting such and other further relief as this Court may deem just and proper.
COUNT IV
DEFAMATION/SLANDER/FALSE LIGHT —October 5, 2020
(Sgt. Roepcke)
Officer Mealey incorporates by reference and re-alleges the allegations contained in the
preceding paragraphs, as if fully set forth below.
67. On October 5, 2020, Sgt. Roepcke sent a Form 95 complaint to Major Webb inl
which he reported, inter alia, that Officer Mealey,
(e) “does not follow Departmental policy or chain of command;”
(f) “misuse[d] the Bomb Squad Commander position and did not follo[w] his chain}
of command;”
(g) demonstrated a “disgraceful undermining of policies and procedures, as well as
command decisions, to affect his own personal agenda;”
(h) “distorted the truth....”
(i) “has neglected Department policies and procedures;”

, (j) “his actions are disgraceful and work against the Baltimore Police
Department’s ability to work with outside agencies and show his lack of ability
to follow his chain of command and department policies and procedures.”

68. The statements made in Sgt. Roepcke’s Form 95 Complaint about Officer Mealey
were false and defamatory and made with actual malice.

69. The statements made in Sgt. Roepcke’s Form 95 Complaint were made to a third
person; i.e, Major Webb and Officer Mealey’s employer, his employer’s agents, servants and/or

representatives.

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70. The statements exposed Officer Mealey to scorn, hatred, contempt or ridicule,
thereby discouraging others in the BPD from having a good opinion of, or associating with, him.

71. Sgt. Roepcke was legally at fault in making the false, defamatory, and slanderous
statements.

72. As a result of Sgt. Roepcke’s false and defamatory statement, Officer Mealey
suffered mental distress, anxiety, depression, emotional and reputational harm.

WHEREFORE, Officer Mealey, prays for a judgment in his favor against Sgt. Roepcke for
exemplary or punitive damages, economic and non-economic damages in an amount exceeding
Seventy-Five Thousand Dollars ($75,000.00), plus interest from the date of the subject occurrence
and costs of this suit together with such other and further relief as this Court deems proper.

COUNT V
DEFAMATION/SLANDER/FALSE LIGHT —Departmental Charges
(Sgt. Roepcke)

Officer Mealey incorporates by reference and re-alleges the allegations contained in the
preceding paragraphs, as if fully set forth below.

73. Sgt. Roepcke filed Departmental charges against Officer Mealey, namely PIB/IAI
Case Nos. 2019-1311 (Charges Unfounded), 2019-1823 (Charges Unfounded), 2020-0974 (No
Decision Rendered), and 2021-0227 (Charges Sustained).

74. The Departmental charges filed by Sgt. Roepcke were false, defamatory,
slanderous and made with actual malice.

75. The statements exposed Officer Mealey to scorn, hatred, contempt or ridicule,
thereby discouraging others in the BPD from having a good opinion of, or associating with, him.

76. The Departmental charges filed by Sgt. Roepcke were made to a third person; i.e.,

Officer Mealey’s employer, his employer’s agents, servants and/or representatives.

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77. Sgt. Roepcke was legally at fault in making the false and defamatory charges.
78. As a result of Sgt. Roepcke’s false and defamatory charges, Officer Mealey
suffered mental distress, anxiety, depression, emotional and reputational harm.
WHEREFORE, Officer Mealey, prays for a judgment in his favor against Sgt. Roepcke for
exemplary or punitive damages, economic and non-economic damages in an amount exceeding
Seventy-Five Thousand Dollars ($75,000.00), plus interest from the date of the subject occurrence

and costs of this suit together with such other and further relief as this Court deems proper.

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DEMAND FOR JURY TRIAL
The Plaintiff, Ronald Mealey, by and through undersigned counsel, hereby demands a jury

trial as to all issues triable by a jury.

Op Quen /ph raw
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